Ol @btr>\

Application for Multi-Court Exemption from the

Judicial Conference's Electronic Public Access (EPA) Fees

1.) I am requesting an exemption from fees for public access to electronic case records for the courts

selected below:
Courts of Appeal

[_] All Courts of Appeal
[] First Circuit

[_] Second Circuit

(J Third Circuit

(_] Fourth Circuit

(_] Fifth Circuit

] Sixth Circuit

- District Courts
[_] All District Courts
[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
[_] Alaska
[-] Arizona
([] Arkansas Eastern
[_] Arkansas Western
[-] California Central
[] California Eastern
{"] California Northern
[_] California Southern
([] Colorado
[_] Connecticut
[_] Delaware
[_} District of Columbia
[_] Florida Middle
[] Florida Northern
[_] Florida Southern
[_] Georgia Northern
[_] Georgia Middle
[_] Georgia Southern
[-] Guam
C] Hawaii
[_] Idaho

[_] Seventh Circuit
[-] Eighth Circuit
[J Ninth Circuit
[-] Tenth Circuit
[_] Eleventh Circuit

] D.C. Circuit
(_] Federal Circuit

[_] Illinois Northern
[] Illinois Central

[] Illinois Southern
[_] Indiana Northern
[] Indiana Southern
[_] lowa Northern
[_] lowa Southern
[_] Kansas

[] Kentucky Eastern
[_] Kentucky Western
[_] Louisiana Eastern
[_] Louisiana Middle
[_] Louisiana Western
[J Maine

(] Maryland

[_] Massachusetts
[| Michigan Eastern
[_] Michigan Western
[-] Minnesota

L_] Mississippi Northern
[_] Mississippi Southern
[_] Missouri Eastern
[_] Missouri Western
[-] Montana

C] First Circuit - BAP
([] Sixth Circuit - BAP
([] Eighth Circuit - BAP
[[] Ninth Circuit - BAP
[_] Tenth Circuit - BAP

(_] Nebraska

[_] Nevada

[_] New Hampshire

[_] New Jersey

[[] New Mexico

[[] New York Eastern

[1] New York Northern
[[] New York Southern

[_] New York Western

[_] North Carolina Eastern
[| North Carolina Middle
[-] North Carolina Western
[] North Dakota

[[] Northern Mariana Islands
[-] Ohio Northern

[_] Ohio Southern

[[] Oklahoma Eastern

[[] Oklahoma Northern
[-] Oklahoma Western
[-] Oregon

[_] Pennsylvania Eastern
[-] Pennsylvania Middle
[_] Pennsylvania Western
[-] Puerto Rico

Bankruptcy Appellate Panels (BAP)

FILED

MAR 2 6 2021

CLERK
U.S. BANKRUPTCY CouRT

BV
DEPUTY Chink =

[_] Rhode Island

[_] South Carolina

[_] South Dakota

(_] Tennessee Eastern

[_] Tennessee Middle

[_] Tennessee Western
[_] Texas Eastern

[-] Texas Northern

[_] Texas Southern

[_] Texas Western

[_] Utah

(_] Vermont

(_] Virgin Islands

(J Virginia Eastern

([] Virginia Western

[_] Washington Eastern
[_] Washington Western
[_] West Virginia Northern
[_] West Virginia Southern
[_] Wisconsin Eastern

[_] Wisconsin Western
[_] Wyoming
Bankruptcy Courts

All Bankruptcy Courts

[_] Alabama Middle
[-] Alabama Northern
[_] Alabama Southern
[_] Alaska

[J Arizona

[J Arkansas Eastern
[[] Arkansas Western
(_] California Central
[] California Eastern
(_] California Northern
[] California Southern
[_] Colorado

[_] Connecticut

[] Delaware

[_] District of Columbia
[_] Florida Middle

[J Florida Northern
(_] Florida Southern
{_] Georgia Northern
{_] Georgia Middle

[_] Georgia Southern

[_] illinois Northern
[_] Minois Central

[_] Illinois Southern
[_] Indiana Northern
(_] Indiana Southern
(_] lowa Northern
[_] lowa Southern
(_] Kansas

[_] Kentucky Eastern
(_] Kentucky Western
([} Louisiana Eastern
[_] Louisiana Middle
[_] Louisiana Western
[] Maine

[_] Maryland

[_] Massachusetts
["] Michigan Eastern
(_] Michigan Western
(] Minnesota

[_] Mississippi Northern

[_] Mississippi Southern

[_] Nebraska

[] Nevada

[-] New Hampshire

[_] New Jersey

{_] New Mexico

[[] New York Eastern

([] New York Northern

[-] New York Southern

(_[] New York Western

[_] North Carolina Eastern
([] North Carolina Middle
[[] North Carolina Western
[-] North Dakota

(J Northern Mariana Islands
[_] Ohio Northern

[[] Ohio Southern

[_] Oklahoma Eastern

[-] Oklahoma Northern
[-] Oklahoma Western
L_] Oregon

[-] Pennsylvania Eastern

[_] Rhode Island

[_] South Carolina

[-] South Dakota

[_] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[_] Texas Northern

[_] Texas Southern

[_] Texas Western

[[] Utah

[[] Vermont

L] Virgin islands

(] Virginia Eastern

(] Virginia Western
(_] Washington Eastern
[_] Washington Western

[(_] West Virginia Northern

[_] West Virginia Southern
[_] Wisconsin Eastern

[_] Wisconsin Western

[] Guam [-] Missouri Eastern [_] Pennsylvania Middle [] Wyoming
([] Hawaii [_] Missouri Western [-] Pennsylvania Western
([] Idaho [-] Montana [_] Puerto Rico
National Courts
oO Judicial Panel on Oo U.S. Court of g U.S. Court of
Multidistrict Litigation Federal Claims International Trade

 

 

2.) I am an individual associated with /Yale Law School

 

 

 

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.

 

Iam aJ.D.-Ph.D. student and an academic researcher at Yale Law School and I study consumer bankruptcy. I am requesting a fee
waiver for my project "Children in Bankruptcy," which analyzes how dependent care affects bankruptcy. In particular, I want to
evaluate the adequacy of the current level of exemptions allowed for dependent care, and I anticipate that the results will benefit
parents with small children facing financial distress. Specifically, I want to collect the answers to Schedule J Part 1 Question 2
("Do you have dependents?") for a random sample of 1,000 cases per district court, 94,000 cases in total. An exemption from the
courts is necessary to make the project affordable. For each case, I will need the Schedule J attached to the petitions. The data will
be used to calculate summary statistics and run regressions, which will quantify the effect of dependent care on bankruptcy
outcome. The data will be stored securely with IRB approval.

 

 

 

 

 

 
Case 06-60001_ Filed 03/26/21 Entered 03/26/21 09:24:01 Doc#67 Page 3 of 3L

4.) In support of this application, I affirm the following:

a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
unreasonable burdens and to promote public access to information.

 

 

b) That the exemption will be for a definitive period of time: |between Feb. 20, 2021 and Feb. 19, 2022

 

 

c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
stated above, and will apply only to the electronic case files of the court(s) indicated above that are
available through the PACER service.

d) I agree that any data received through this exemption will not be sold for profit, will not be
transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

Declaration: I declare that all the above information is true and understand that a false statement
[x] may result in termination of my exempt access and an assessment of Electronic Public Access
usage fees. (The box must be marked or your request will not be considered)

 

 

(252) 881-0027
Applicant's Phone Number

 

Belisa Ana Pang

 

 

 

 

 

 

Applicant's Printed Name
belisa.pang@yale.edu

Applicant's email address

 

 

 

 

 

 

 

32 Elm St. Apt. B1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Applicant's Title Applicant's Mailing Address
Belisa Ana Pang irate oxo s02039 0500" New Haven CT | |06510
Applicant's Signature City a NGnOe
Feb 10, 2021
Date

Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts. gov
or by mail to:

Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD

One Columbus Circle, N.E.
Washington, DC 20544

** Requests sent through the US mail may take up to two weeks to clear security.**
